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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                          Filed: May 31, 2022

*************************
LEILA M. HUBBARD, as parent and              *      No. 20-981V
natural guardian, on behalf of J.B.B.,       *
a minor,                                     *      Special Master Sanders
                                             *
                       Petitioner,           *
v.                                           *      Decision on Proffer; Damages; Hepatitis B
                                             *      Vaccine; Diphtheria-Tetanus-Acellular
SECRETARY OF HEALTH                          *      Pertussis (“DTaP”) Vaccine; Pneumococcal
AND HUMAN SERVICES,                          *      Conjugate (“PCV”) Vaccine; Haemophilus
                                             *      Influenzae Type B (“Hib”) Vaccine;
                       Respondent.           *      Hepatitis A Vaccine; Sterile Abscesses
                                             *
*************************
Robert D. Proffitt, Proffitt & Cox, LLP, Columbia, SC, for Petitioner.
Ronalda E. Kosh, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION AWARDING DAMAGES1

        On August 6, 2020, Leila Hubbard (“Petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program2 (“Vaccine Program” or “Program”). 42
U.S.C. § 300aa-10 to 34 (2012). Petitioner alleged that the Hepatitis B; diphtheria, tetanus,
acellular pertussis (“DTaP”); pneumococcal conjugate (“PCV”); haemophilus influenzae type B
(“Hib”); and Hepatitis A vaccines her child, J.B.B., received between October 31, 2017 and May
2, 2019, caused him to “suffer[] persistent and recurring sterile abscesses and related conditions in
his right and left thighs where the vaccines were administered . . . .” Pet. ¶¶ 5–6, ECF No. 1.

        On August 20, 2021, Respondent filed his report pursuant to Vaccine Rule 4(c). Resp’t’s
Report, ECF No. 25. Respondent “recommend[ed] that compensation be awarded.” Id. at 1. He
stated that a review of the record indicated that “J.B.B. developed persistent and recurring sterile
abscesses, which were more likely than not caused by the administration of vaccines [stated in

1
  This Decision shall be posted on the United States Court of Federal Claims’ website, in accordance with
the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), a party has 14 days to identify
and move to delete medical or other information that satisfies the criteria in § 300aa-12(d)(4)(B). Further,
consistent with the rule requirement, a motion for redaction must include a proposed redacted Decision.
If, upon review, the undersigned agrees that the identified material fits within the requirements of that
provision, such material will be deleted from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755 (“the Vaccine Act”
or “Act”). Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).

                                                     1
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Petitioner’s petition] in J.B.B.’s left and right thighs.” Id. at 7. Respondent continued that
Petitioner “has satisfied the statutory requirement that J.B.B.’s injury lasted for at least six months,
or resulted in ‘inpatient hospitalization and surgical intervention’ as required by 42 U.S.C. § 300aa-
11(c)(1)(D)(i)(iii).” Id. Respondent concluded that “[P]etitioner has satisfied all legal prerequisites
for compensation under the Act.” Id. On December 30, 2021, the undersigned issued a Ruling on
Entitlement, finding that Petitioner was entitled to compensation. Ruling on Entitlement, ECF No.
26.

        On May 6, 2022, Respondent filed a Proffer on Award of Compensation (“Proffer”).
Proffer, ECF No. 31. Based on the record as a whole, the undersigned finds that Petitioner is
entitled to an award as stated in the Proffer.

        Pursuant to the terms stated in the Proffer, attached as Appendix A, the undersigned awards
Petitioner:

              A lump sum payment of $100,00.00, representing compensation for pain and
              suffering, in the form of a check payable to [P]etitioner as guardian/conservator
              of J.B.B., for the benefit of J.B.B. . . . [and a] lump sum payment of $7,234.60,
              representing compensation for satisfaction of the State of South Carolina
              Medicaid lien, in the form of a check payable jointly to [P]etitioner[ and Equian]3
              . . . . These amounts represent all elements of compensation to which [P]etitioner,
              on behalf of J.B.B., is entitled under 42 U.S.C. § 300aa-15(a).

Id. at 2–3.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
court SHALL ENTER JUDGMENT herewith.4

        IT IS SO ORDERED.

                                                  s/Herbrina D. Sanders
                                                  Herbrina D. Sanders
                                                  Special Master




3
  The proffer states that “Petitioner agrees to endorse this payment to Equian[]” and lists an address for
Equian. Id. at 3.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of a notice
renouncing the right to seek review.

                                                      2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
__________________________________________
                                            )
LEILA M. HUBBARD, as parent and natural     )
guardian, on behalf of J.B.B., a minor      )
                                            )
              Petitioner,                   )
                                            )   No. 20-981V
       v.                                   )   Special Master Sanders
                                            )   ECF
SECRETARY OF HEALTH AND                     )
HUMAN SERVICES,                             )
                                            )
              Respondent.                   )
__________________________________________)

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On August 6, 2020, Leila M. Hubbard (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended. Petitioner alleges that J.B.B. developed persistent and

recurring sterile abscesses and related conditions that were caused-in-fact by multiple vaccines,

including the Hepatitis B (“Hep B”), Hemophilus Influenza Type B (“Hib”), Diphtheria-Tetanus-

acellular Pertussis (“DTaP”), Pneumococcal conjugate (“PCV”), and Hepatitis A (“Hep A”)

vaccines administered on the following dates: October 31, 2017, January 5, 2018, March 9, 2018,

May 14, 2018, November 2, 2018, February 14, 2019, and May 2, 2019. See Petition. On

August 20, 2021, the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c)

Report indicating that this case is appropriate for compensation under the terms of the Act for

persistent and recurring sterile abscesses, which were more likely than not caused by the

administration of vaccines, to include the Hep B, Hib, DTaP, PCV, and Hep A vaccines, in

J.B.B.’s left and right thighs, and on December 30, 2021, the Special Master issued a Ruling on

Entitlement finding petitioner entitled to compensation. ECF No. 25; ECF No. 26.
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I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner, on behalf of J.B.B., should be awarded $100,000.00

in pain and suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Medicaid Lien

       Respondent proffers that petitioner, on behalf of J.B.B., should be awarded funds to

satisfy the State of South Carolina lien in the amount of $7,234.60, which represents full

satisfaction of any right of subrogation, assignment, claim, lien, or cause of action the State of

South Carolina may have against any individual as a result of any Medicaid payment the State of

South Carolina has made to or on behalf of petitioner from the date of eligibility for benefits

through the date of judgment in this case as a result of the alleged vaccine-related injury suffered

on or about October 31, 2017, January 5, 2018, March 9, 2018, May 14, 2018, November 2,

2018, February 14, 2019, and May 2, 2019, under Title XIX of the Social Security Act.

       These amounts represent all elements of compensation to which petitioner, on behalf of

J.B.B., is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner, on behalf of J.B.B.,

should be made through the following payments:1

             A. A lump sum payment of $100,000.00, representing compensation for pain and
                suffering, in the form of a check payable to petitioner as guardian/conservator of
                J.B.B., for the benefit of J.B.B. No payments shall be made until petitioner
                provides respondent documentation establishing that she has been appointed as
                the guardian/conservator of J.B.B.’s estate. If petitioner is not authorized by a
                court of competent jurisdiction to serve as guardian/conservator of the estate of
                J.B.B., any such payment shall be made to the party or parties appointed by a

1Should J.B.B. die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.


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               court of competent jurisdiction to serve as guardian/conservator of the estate of
               J.B.B. upon submission of written documentation of such appointment to the
               Secretary; and

           B. A lump sum payment of $7,234.60, representing compensation for satisfaction of
              the State of South Carolina Medicaid lien, in the form of a check payable jointly
              to petitioner:
                                             Equian
                                        P.O. Box 182643
                                     Columbus, OH 43218

Petitioner agrees to endorse this payment to Equian.

III.   Summary of Recommended Payments Following Judgment

           A. Lump sum paid to petitioner as the court-appointed
              guardian/conservator of J.B.B.’s estate:                                $100,000.00

           B. Medicaid lien:                                                          $7,234.60

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Principal Deputy Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       DARRYL R. WISHARD
                                                       Assistant Director
                                                       Torts Branch, Civil Division




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                                         s/ Ronalda E. Kosh
                                         RONALDA E. KOSH
                                         Trial Attorney
                                         Torts Branch, Civil Division
                                         U.S. Department of Justice
                                         P.O. Box 146
                                         Benjamin Franklin Station
                                         Washington, D.C. 20044-0146
                                         Tel.: (202) 616-4476
DATED: May 6, 2022                       Email: ronalda.kosh@usdoj.gov




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